Case 2:07-md-01873-KDE-MBN Document 2360-9 Filed 07/29/09 Page 1 of 1
 901. 000-asoejaa


Sep-18-2007 03:51pm      From-Assistant Secretary . tar Le g islation         202-690-7380         T-091     P.002     F-489




                                                                                                                 alnsolou1

                                                                                                      19 g 9b-9t9 (ZOZ)
                                                                                                         9ZSE-912 (zoz)
                                                                                                P511toO al      ^o go O
                                                                                                coca;%zd p? 'Nppa oto . 34td




                                                                            'SZ8E"9179 tZOZ) } suopsaub 1Cue
          a,veq nod ? dj}aazcp aru +o uoo as-ml •itoxsspalad ssaachxa ^Ltu 3no inb Axed pn . iZue o; pasrataz
          aq prnogs uot4,Em1c a oN - eprsapgaoa sYS,Clurie.rnoC pie uop,-euu°gal sxzp -daa aseald

                                                                                panuap aq u Ivy, saogepctaiaiaromai
                                                                        •111o1 a1 tp
          zo suolorn uoo hue put sisal. asat{; a slinsas att. jo stsiieue mod j.o 1..1odaz trough,.
          < or ,.n r      ^ s,v,,T,, , P.,^ s.1'   .:^P^^.u. --jag f ^
                                              u 2I/1                                    it•4TeOp?JtOj
                                                                                            ` a        3QTrES?yjaao'l
                                                                                                                 ^.._
          Mg. 11104 'e3Ev palElaa   pee    sllnsax  ;ma; aYl^ °utup  aoa ?lstp C[ a  pug UpY>   tto/C pasojot



                                                                           aurisaJ, apligapiecusod ialTBx]              =all

                                                                                                          ' £tr£€-88t (OLL)
                                                                                                L ILE-Iiy£05 V `3uelly
                                                                                                  °.CEnaz[°?H pt°.3n"E( OLGt
                                                                                             LIZ£ t rood ` 6Z-E do ;stpj
                                                                                                                 2ICIS1y
                                                                                                          lg.,'A ".A 3i=QS




                                                                                                      900Z `0£ .zagtuanoO




                     ZL70t DQ'v.clAuKsao,
                          ttS '1'=S7005
      MA IMS puvTv.a M.e. a . "° o a. a'rn
